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 6
 7                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                )   No. Cr.S. 08-376 EJG
                                              )
10                Plaintiff,                  )
                                              )   ORDER
11         v.                                 )
                                              )
12   GARRET GILILLAND and                     )
     NICOLE MAGPUSAO,                         )   DATE: Dec. 17, 2010
13                                            )   TIME: 2:00 p.m.
               Defendants.                    )   The Hon. Edward J. Garcia
14   _______________________________
15
16   GOOD CAUSE APPEARING the Court orders the court reporter to prepare the
17   transcript of the hearing held on December 17, 2010, and to provide a copy to
18   each defendants’ counsel - Krista Hart and Scott Tedmon. The Court further
19   orders the transcript to otherwise remain sealed unless and until the Court orders
20   it unsealed. Counsel for the defendants will make arrangements to compensate the
21   court reporter pursuant to the Criminal Justice Act.
22   DATED: December 20, 2010
23
24                                                /s/ Edward J. Garcia
                                                  The Honorable Edward J. Garcia
25                                                U.S. District Court Judge
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